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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


    ALEJANDRO MENOCAL,
    MARCOS BRAMBILA,                                    Civil No. 1:14-cv-02887-JLK
    GRISEL XAHUENTITLA,
    HUGO HERNANDEZ,
    LOURDES ARGUETA,
    JESUS GAYTAN,
    OLGA ALEXAKLINA,
    DAGOBERTO VIZGUERRA, and
    DEMETRIO VALERGA
    on their own behalf and on behalf of all others
    similarly situated,
                               Plaintiffs,

             v.

    THE GEO GROUP, INC.,

                                  Defendant.


  DECLARATION OF MICHAEL J. SCIMONE IN SUPPORT OF PLAINTIFFS’
    OPPOSITION TO DEFENDANT’S MOTION FOR DECERTIFICATION

        I, Michael J. Scimone, pursuant to 28 U.S.C. § 1746, declare under penalty of

 perjury as follows:

        1.        I am a Partner with the law firm Outten & Golden LLP, which, together

 with Towards Justice, the Law Office of R. Andrew Free, Milstein Law Office, The

 Kelman Buescher Firm, P.C., and Meyer Law Office, P.C., are Class Counsel in this

 action. I am an attorney in good standing admitted to practice before this Court.

        2.        I have been one of the lawyers primarily responsible for the prosecution of

 Plaintiffs’ and the Class’s claims in this case.

        3.        I make the statements in this Declaration based on my personal knowledge
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 and would so testify if called as a witness at trial.

 Deposition of Class Plaintiffs Located Abroad

        4.     In the course of discovery in this case, GEO requested depositions of the

 Named Plaintiffs in early 2020, and the parties have been working together to schedule

 those depositions since in or about February 2020.

        5.     The Plaintiffs in this case were all subject to immigration proceedings

 during their detention at GEO’s Aurora facility. As a result of those proceedings, several

 of the Named Plaintiffs have been deported from the United States and currently reside

 abroad. These Named Plaintiffs include Lourdes Argueta, who now resides in Honduras,

 and Olga Alexakhina, who resides in the Russian Federation.

        6.     As Plaintiffs have informed GEO, both Honduras and the Russian

 Federation impose strict limitations on the depositions of non-United States citizens

 located within their borders for use in a U.S. legal proceeding. In Honduras, permission

 for depositions must be obtained from Honduran courts pursuant to letters rogatory.1 In

 Russia, voluntary depositions of willing witnesses for use in civil and commercial matters

 are not permitted under any circumstances. 2

        7.     To facilitate the depositions of Ms. Argueta and Ms. Alexakhina, Plaintiffs

 sought to have them both paroled into the United States for that purpose.


 1
         See Depositions, U.S. Embassy Tegucigalpa, Honduras,
 https://hn.usembassy.gov/wp-content/uploads/sites/109/2016/05/deposition_acs.pdf (last
 visited Oct. 24, 2020).
 2
         See Russian Federation, U.S. Department of State – Bureau of Consular Affairs,
 https://travel.state.gov/content/travel/en/legal/Judicial-Assistance-Country-
 Information/RussianFederation.html (last visited Oct. 24, 2020).

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         8.    Counsel for GEO initially informed Plaintiffs that they would prefer to wait

 on the outcome of the parole applications for Ms. Argueta and Ms. Alexakhina before

 considering other options for taking their depositions abroad. To date, Plaintiffs’ efforts

 to secure parole for Ms. Argueta and Ms. Alexakhina have been unsuccessful.

         9.    On March 4, 2020, counsel for GEO e-mailed counsel for Plaintiffs

 requesting the availability of several witnesses for deposition, including Ms. Argueta and

 Ms. Alexakhina. On March 5, 2020, counsel for Plaintiff replied, reminding GEO of the

 legal impediments to those depositions and suggesting alternative arrangements to allow

 depositions of Ms. Argueta and Ms. Alexakhina outside their countries of residence.

         10.   One option proposed by Plaintiffs was for Ms. Alexakhina to travel to

 Finland, or another country in which depositions of non-U.S. citizens for use in U.S.

 courts was permitted. Plaintiffs’ counsel was in the process of making the necessary

 arrangements for this travel, including securing Ms. Alexakhina a visa and passports,

 when the COVID-19 pandemic caused nearly all of Europe to close its borders to both

 Russian and United States citizens, making international travel virtually impossible.

         11.   Ms. Argueta’s deposition would require permission from Honduran courts

 via letters rogatory. Counsel for Plaintiffs provided GEO with information on how GEO

 could begin this process on March 5, 2020. Plaintiffs have not heard any updates since

 then.

         12.   Plaintiffs remain prepared to present both Ms. Alexakhina and Ms. Argueta

 for deposition if and when it becomes possible and safe.




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 Video Script

        13.     During the course of discovery, GEO produced two documents that were

 used during the class period as scripts for a detainee orientation video that was shown to

 detainees upon arrival at Aurora. These documents are Bates-stamped GEO_MEN

 00056575-81 and GEO-MEN 00075173-83.

        14.     The first document, Bates-stamped GEO_MEN 00056575-81, is titled

 Orientation Video Script 042705. Document metadata does not include a creation date,

 but indicates that its custodian was Dawn Ceja.

        15.     The second document, Bates-stamped GEO-MEN 00075173-83, is titled

 Orientation Video Scripts 082507. Document metadata indicates that it was created on

 August 26, 2007, and that its custodian was Barbara Krumpelmann.

        16.     During a telephone conference on September 28, 2020, counsel for

 Plaintiffs asked counsel for GEO to investigate the dates during which some version of

 these video scripts was in use. Via e-mail the following day, September 29, 2020,

 counsel for GEO agreed to do so.

        17.     As of the date of this declaration, GEO has not confirmed the operative date

 of the orientation video scripts.

        18.     Based on document metadata, Plaintiffs believe the scripts were in use at

 least through 2007.

 Exhibits

        19.     Attached hereto as Plaintiffs’ Opposition Exhibit 1 is a true and correct

 copy of excerpts from the March 29, 2016 30(b)(6) deposition of Dawn Ceja.


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        20.    Attached hereto as Plaintiffs’ Opposition Exhibit 2 is a true and correct

 copy of excerpts from the August 5, 2020 30(b)(6) deposition of Dawn Ceja.

        21.    Attached hereto as Plaintiffs’ Opposition Exhibit 3 is a true and correct

 copy of excerpts from the November 19, 2019 deposition of Kevin Martin.

        22.    Attached hereto as Plaintiffs’ Opposition Exhibit 4 is a true and correct

 copy of excerpts from the February 27, 2020 30(b)(6) deposition of Daniel Ragsdale.

        23.    Attached hereto as Plaintiffs’ Opposition Exhibit 5 is a true and correct

 copy of excerpts from the February 21, 2018 deposition of Dagoberto Vizguerra.

        24.    Attached hereto as Plaintiffs’ Opposition Exhibit 6 is a true and correct

 copy of excerpts from the July 22, 2020 deposition of Alejandro Menocal.

        25.    Attached hereto as Plaintiffs’ Opposition Exhibit 7 is a true and correct

 copy of excerpts from the July 16, 2020 deposition of Alejandro Hernandez Torres.

        26.    Attached hereto as Plaintiffs’ Opposition Exhibit 8 is a true and correct

 copy of excerpts from the June 24, 2020 deposition of Hugo A. Hernandez-Ceren.

        27.    Attached hereto as Plaintiffs’ Opposition Exhibit 9 is a true and correct

 copy of excerpts from the June 29, 2020 deposition of Martha Vasquez.

        28.    Attached hereto as Plaintiffs’ Opposition Exhibit 10 is a true and correct

 copy of excerpts from the June 30, 2020 deposition of Sergio Gallegos.

        29.    Attached hereto as Plaintiffs’ Opposition Exhibit 11 is a true and correct

 copy of a Powerpoint titled “Anatomy of a Con Game,” Bates stamped GEO-MEN

 00106711. This exhibit has been filed as a restricted document in accordance with D.

 Colo. L. Civ. R. 7.2.


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        30.    Attached hereto as Plaintiffs’ Opposition Exhibit 12 is a true and correct

 copy of excerpts from the personnel file of Joyce Quezada, Bates stamped GEO-

 MEN0017282-83. This exhibit has been filed as a restricted document in accordance

 with D. Colo. L. Civ. R. 7.2.

        31.    Attached hereto as Plaintiffs’ Opposition Exhibit 13 is a true and correct

 copy of excerpts from the July 28, 2020 deposition of Joyce Quezada.

        32.    Attached hereto as Plaintiffs’ Opposition Exhibit 14 is a true and correct

 copy of a document titled “Aurora ICE Processing Center Building Schedule,” Bates

 stamped GEO-MEN 00072830-31. This exhibit has been filed as a restricted document

 in accordance with D. Colo. L. Civ. R. 7.2.

        33.    Attached hereto as Plaintiffs’ Opposition Exhibit 15 is a true and correct

 copy of excerpts from the July 8, 2020 deposition of Luis Pagan.

        34.    Attached hereto as Plaintiffs’ Opposition Exhibit 16 is a true and correct

 copy of excerpts from the October 26, 2017 deposition of Grisel Xahuentitla.

        35.    Attached hereto as Plaintiffs’ Opposition Exhibit 17 is a true and correct

 copy of excerpts from the November 16, 2017 deposition of Jesus Gaytan.

        36.    Attached hereto as Plaintiffs’ Opposition Exhibit 18 is a true and correct

 copy of excerpts from the October 27, 2017 deposition of Demetrio Valerga.

        37.    Attached hereto as Plaintiffs’ Opposition Exhibit 19 is a true and correct

 copy of excerpts from the July 23, 2020 deposition of Stuart Grassian.

        38.    Attached hereto as Plaintiffs’ Opposition Exhibit 20 is a true and correct

 copy of a transcript of the November 15, 2017 oral argument before the Tenth Circuit in


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 Menocal v. GEO Grp., Inc., No. 17-1125 (10th Cir.).

        39.     Attached hereto as Plaintiffs’ Opposition Exhibit 21 is a true and correct

 copy of the Opening Brief for Appellant filed in Menocal v. GEO Grp., Inc., No. 17-1125

 (10th Cir.).

        40.     Attached hereto as Plaintiffs’ Opposition Exhibit 22 is a true and correct

 copy of the Segregated Housing & Solitary Confinement report of GEO expert Dr.

 Jeffrey Kropf.

        41.     Attached hereto as Plaintiffs’ Opposition Exhibit 23 is a true and correct

 copy of excerpts from the September 16, 2020 30(b)(6) deposition of Dawn Ceja.

        42.     Attached hereto as Plaintiffs’ Opposition Exhibit 24 is a true and correct

 copy of a Powerpoint titled “Detainee Orientation Video,” Bates stamped GEO-MEN

 00108452. This exhibit has been filed as a restricted document in accordance with D.

 Colo. L. Civ. R. 7.2.




  Dated: New York, NY                             Respectfully submitted,
         October 26, 2020
                                                  By: /s/ Michael J. Scimone
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                                                  Class Counsel




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